Case 1:19-cv-03867-PKC-ST Document 111 Filed 09/30/22 Page 1 of 15 PageID #: 2237




                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF NEW YORK

  FRANCISCO SURIEL,

                             Plaintiff,         19 CV 3867 (PKC) (ST)

                 -against-

  PORT AUTHORITY OF NEW
  YORK AND NEW JERSEY, et al.,

                             Defendants.




                  Plaintiff’s Memorandum of Law in Opposition to
                 Defendants’ Motion for Partial Summary Judgment




                             Elefterakis, Elefterakis & Panek
                                80 Pine Street, 38th Floor
                              New York, New York 10005




  September 9, 2022
Case 1:19-cv-03867-PKC-ST Document 111 Filed 09/30/22 Page 2 of 15 PageID #: 2238




                                                   Table of Contents
  Table of Authorities ................................................................................................... ii
  Preliminary Statement................................................................................................ 1
  Response to the “Statement of Facts” in Defendants’ Brief......................................... 1
  The Summary Judgment Standard ............................................................................. 2
  Argument ................................................................................................................... 4
      Plaintiff Withdraws his Unlawful Stop Claim ....................................................... 4
      Plaintiff Withdraws his Malicious Abuse of Process Claim .................................... 4
      Plaintiff’s Negligence Claim Survives .................................................................... 5
      Plaintiff Withdraws his Claims for Emotional Distress ......................................... 7
      Plaintiff’s Failure to Intervene and False Arrest Claims Survive ............................. 7
      Plaintiff Does Not Assert a Monell Claim............................................................ 10
      The State Law Claims are Timely ....................................................................... 10
      Plaintiff Withdraws against the Port Authority Police Department ..................... 11
  Conclusion............................................................................................................... 12




                                                                i
Case 1:19-cv-03867-PKC-ST Document 111 Filed 09/30/22 Page 3 of 15 PageID #: 2239




                                                  Table of Authorities

                                                            CASES
  Amnesty Am. v. Town of W. Hartford, 361 F.3d 113 (2d Cir. 2004) ........................... 3
  Anderson v. Liberty Lobby, Inc., 477 U.S. 242 (1986) ................................................. 3
  Celotex Corp. v. Catrett, 477 U.S. 317 (1986) ............................................................ 3
  Cordero v. City of New York, 282 F. Supp. 3d 549 (E.D.N.Y. 2017) .......................... 4
  Dawkins v. Williams, 413 F.Supp.2d 161 (N.D.N.Y. 2006) ...................................... 7
  Jackson v. City of New York, 939 F. Supp. 2d 219 (E.D.N.Y. 2013) ........................... 7
  Jackson v. Federal Express, 766 F.3d 189 (2d Cir. 2014) ............................................. 2
  Karoon v. N.Y.C. Transit Auth., 241 A.D.2d 323 (1st Dep’t 1997) .......................... 11
  Mark v. Gawker Media LLC, 13 CV 4347 (AJN), 2016 WL 1271064 (S.D.N.Y. Mar.
    29, 2016) ................................................................................................................ 3
  Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574 (1986) ..................... 3
  Patterson v. Balsamico, 440 F.3d 104 (2d Cir. 2006) .................................................. 2
  Rodriguez v. City of New York, ___ F.Supp.3d ____, 2022 WL 900613 (E.D.N.Y.
    March 28, 2022) ................................................................................................ 5, 6
  Snead v. City of New York, 463 F. Supp. 3d 386 (S.D.N.Y. 2020) ............................. 8
  Snead v. LoBianco, 16 CV 09528 (AJN), 2021 WL 861060 (S.D.N.Y. Mar. 8, 2021) 8
  Theodat v. City of New York, 818 Fed. Appx. 79 (2d Cir. 2020) ........................... 9, 10
  Thompson v. Clark, 142 S. Ct. 1332 (2022) ............................................................... 4
  Velez v. City of New York, 730 F.3d 128 (2d Cir. 2013) ........................................... 11

                                                         STATUTES
  42 U.S.C. § 1983 ................................................................................................... 6, 7

                                                            RULES
  Fed. R. Civ. P. 37(c) ................................................................................................. 2
  Fed. R. Civ. P. 41(a)(2).......................................................................................... 4, 5
  Fed. R. Civ. P. 56 ................................................................................................ 3, 10
  Fed. R. Civ. P. 56(a) .................................................................................................. 3
  Fed. R. Civ. P. 56(e) .................................................................................................. 3
  Loc. Civ. R. 56.1 ....................................................................................................... 1
  Loc. Civ. R. 56.1(b) ............................................................................................... 2, 5




                                                                ii
Case 1:19-cv-03867-PKC-ST Document 111 Filed 09/30/22 Page 4 of 15 PageID #: 2240




                                    Preliminary Statement

     If it should please the Court, defendants’ motion for partial summary judgment

  raises narrow legal issues, several of which plaintiff concedes and some of which lack

  merit. However, we respectfully submit that defendants’ treatment of the facts is

  improper.

                 Response to the “Statement of Facts” in Defendants’ Brief

     In contravention of Local Civil Rule 56.1 and ordinary summary judgment practice,

  defendants brief includes a nine-page factual recitation that is untethered to their 56.1

  statement, thus depriving plaintiff of the opportunity to address each statement

  individually as contemplated by the Local Rules. Making matters worse, several of the

  statements in movants’ fact section misrepresent the record and distort key aspects of

  the dispute, needlessly frustrating the summary judgment analysis.

     For instance, it is beyond cavil that Mr. Suriel, a rideshare driver for the Via service,

  was waiting for his assigned passenger at Terminal 8 when the defendant officers seized

  him without inquiry and arrested him for solicitation. Indeed, the corporate designee

  of the Via service specifically testified that it was not possible for Mr. Suriel to “cancel”

  the trip in question or mark the prospective passenger a “no-show.” See Plaintiff’s Rule

  56.1 Counterstatement dated September 9, 2022 (“Pl. 56.1”), Responses 21-25.

     Yet in their brief (at p. 4) defendants represent that Mr. Suriel was “not supposed to

  cancel,” intending to create the misimpression that Mr. Suriel had the capability to
Case 1:19-cv-03867-PKC-ST Document 111 Filed 09/30/22 Page 5 of 15 PageID #: 2241




  cancel through his app and may have in fact done so, when, as an indisputable technical

  matter, this was not possible. Id.; see also Pl. 56.1 at Response 30.

     Defendants also improperly rely on cell phone records that were not produced in

  discovery to support their factual recitation at p. 7 of their brief. Such evidence (which

  is referenced but not submitted by defendants) should not be considered because

  defendants failed to produce the documents in response to an applicable Rule 34 request

  propounded by plaintiff at the initial conference. Fed. R. Civ. P. 37(c) (“If a party fails

  to provide information or identify a witness as required by Rule 26(a) or (e), the party

  is not allowed to use that information or witness to supply evidence on a motion…”);

  Patterson v. Balsamico, 440 F.3d 104, 117-18 (2d Cir. 2006).

      For a recitation of the facts relevant to this motion, plaintiff respectfully refers the

  Court to the accompanying Loc. Civ. R. 56.1(b) counterstatement.

                             The Summary Judgment Standard

     Federal Rule of Civil Procedure 56 allows a party to seek a judgment before trial on

  the grounds that all facts relevant to a claim are undisputed and that those facts entitle

  the party to the judgment sought. Jackson v. Federal Express, 766 F.3d 189, 194 (2d Cir.

  2014). “The Court must grant summary judgment if the movant shows that there is no

  genuine dispute as to any material fact and the movant is entitled to judgment as a

  matter of law.” Mark v. Gawker Media LLC, 13 CV 4347 (AJN), 2016 WL 1271064,




                                               2
Case 1:19-cv-03867-PKC-ST Document 111 Filed 09/30/22 Page 6 of 15 PageID #: 2242




  *2 (S.D.N.Y. Mar. 29, 2016) (quoting Fed. R. Civ. P. 56(a)) (quotation marks

  omitted).

     A fact is “material” within the meaning of Fed. R. Civ. P. 56 when its resolution

  “might affect the outcome of the suit under the governing law.” Anderson v. Liberty

  Lobby, Inc., 477 U.S. 242, 248 (1986). An issue is “genuine” when “the evidence is such

  that a reasonable jury could return a verdict for the nonmoving party.” Id. The Court

  “is not to weigh the evidence but is instead required to view the evidence in the light

  most favorable to the party opposing summary judgment, to draw all reasonable

  inferences in favor of that party, and to eschew credibility assessments.” Amnesty Am. v.

  Town of W. Hartford, 361 F.3d 113, 122 (2d Cir. 2004) (quotation omitted).

     The moving party carries the burden of demonstrating the absence of a genuine issue

  of material fact. Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986). Once the moving

  party has met its burden, “the nonmoving party must come forward with ‘specific facts

  showing that there is a genuine issue for trial.’” Matsushita Elec. Indus. Co. v. Zenith

  Radio Corp., 475 U.S. 574, 587 (1986) (quoting Fed. R. Civ. P. 56(e)).




                                             3
Case 1:19-cv-03867-PKC-ST Document 111 Filed 09/30/22 Page 7 of 15 PageID #: 2243




                                                 Argument

                           Plaintiff Withdraws his Unlawful Stop Claim

      In Point I of their brief, defendants argue that plaintiff was not subjected to a Terry

  stop, but rather a “sudden arrest,” citing plaintiff’s counsel’s case before the late

  Honorable Jack B. Weinstein, Cordero v. City of New York, 282 F. Supp. 3d 549

  (E.D.N.Y. 2017). Given defendant Samuel’s testimony that he decided to arrest Mr.

  Suriel before asking him a single question,1 we agree with defendants and therefore

  respectfully consent to dismissal of plaintiff’s unlawful stop claim pursuant to Fed. R.

  Civ. P. 41(a)(2).

                            Plaintiff Withdraws his Malicious Abuse of
                                          Process Claim

      Defendants argue in Point II of their brief that the summary judgment record does

  not raise triable issues with respect to plaintiff’s malicious abuse of process claim. Upon

  due consideration and given the facts adduced in discovery and plaintiff’s pending

  motion for leave to assert a malicious prosecution claim based on intervening Supreme

  Court precedent,2 plaintiff respectfully concurs and consents to dismissal of his

  malicious abuse of process claim pursuant to Fed. R. Civ. P. 41(a)(2).



  1
    See Deposition Testimony of Andrew Samuel, annexed to the Declaration of Gabriel P. Harvis dated
  September 9, 2022 (“Harvis Decl.”) as Exhibit 3, p. 106, ln. 17-20.
  2
    See Thompson v. Clark, 142 S. Ct. 1332, 1341 (2022) (reversing the Second Circuit and holding that a
  malicious prosecution plaintiff “need only show that the criminal prosecution ended without a conviction”);
  Plaintiff’s Motion for Partial Summary Judgment dated July 26, 2022, Point II (pp. 7-8).


                                                      4
Case 1:19-cv-03867-PKC-ST Document 111 Filed 09/30/22 Page 8 of 15 PageID #: 2244




                                  Plaintiff’s Negligence Claim Survives

      In their brief at Point III, defendants cite plaintiff’s counsel’s case before the Hon.

  Nina Gershon, Rodriguez v. City of New York, ___ F.Supp.3d ____, 2022 WL 900613

  (E.D.N.Y. March 28, 2022), for the proposition that a claim for negligent hiring,

  training and retention will not lie where defendants concede that the officers were acting

  in the scope of their employment at the time of the challenged conduct. We agree, and,

  given defendants’ concession (at p. 13 of their brief), plaintiff respectfully consents to

  withdrawal of this claim in accordance with Fed. R. Civ. P. 41(a)(2).3

      Defendants, however, misstate the law and the facts when they argue, without

  authority in the last sentence of their Point III (at p. 13): “Here the allegations are that

  Samuel and Telesford engaged in intentional conduct, which is inconsistent with any

  claim for negligence under state law thereby defeating a claim for negligence and

  respondeat superior liability.” First, plaintiff’s Notice of Claim and Amended Complaint

  assert negligence claims, and the summary judgment record includes evidence of the

  officers’ negligence in the events surrounding plaintiff’s apprehension and arrest,

  including in their use of force. See Second Amended Complaint, DE #36, ¶¶ 72, 74;

  Notice of Claim, annexed to the Harvis Decl. as Exhibit 18, Pl. 56.1, ¶¶ 29-45.



  3
   Defendants misrepresent the record when they claim (at p. 12 of their brief) that “[n]either of these defendants
  has…[a] record of CCIU complaints of excessive force or false arrest.” See Plaintiff’s Loc. Civ. R. 56.1(b)
  Counterstatement (“Pl. 56.1”) at Response 7 (discussing similar civilian complaints against Telesford).


                                                         5
Case 1:19-cv-03867-PKC-ST Document 111 Filed 09/30/22 Page 9 of 15 PageID #: 2245




     Second, although defendants likely do not appreciate it, Rodriguez stands for the

  proposition that, in the context of a contested seizure, a plaintiff such as Mr. Suriel may

  assert both intentional civil rights violations and state law claims for negligence.

  Rodriguez, 2022 WL 900613 at *8 (“Questions of fact exist concerning whether Officer

  Zheng violated the law through intentional, rather than negligent, conduct. Plaintiff

  may submit his negligence claim in the alternative to the jury.”) (citations omitted)

  (collecting cases).

     Indeed, in Rodriguez Judge Gershon providently deemed the pleadings amended to

  assert a negligence claim, just as Mr. Suriel respectfully submits the court should do

  here to allow plaintiff to assert his now valid yet previously foreclosed § 1983 claim for

  malicious prosecution.

                …I will allow plaintiff to pursue [a negligence] claim by
                treating the Complaint as amended. Defendants do not
                argue, nor could they, that they will be prejudiced by such a
                ruling. To the contrary, defendants addressed the merits of a
                negligence claim against Officer Zheng in a pre-motion
                conference letter. Moreover, no additional discovery is
                needed on this claim as it involves the same set of facts, and
                the parties have fully addressed the merits of the claim in
                their summary judgment briefing. Accordingly, I now deem
                the Complaint amended to include a negligence claim
                against Officer Zheng, and I deem defendants’ answer to the
                Complaint amended to deny this claim.

  Id. (citations omitted); see supra at n.2. Plaintiff respectfully notes that the Rodriguez

  defendants did not seek reconsideration of the summary judgment decision.


                                              6
Case 1:19-cv-03867-PKC-ST Document 111 Filed 09/30/22 Page 10 of 15 PageID #: 2246




                       Plaintiff Withdraws his Claims for Emotional
                                         Distress

     If it should please the Court, based on the record here, plaintiff respectfully consents

  to dismissal of his claims for negligent and intentional infliction of emotional distress,

  as addressed at Points IV-V of defendants’ brief.

                      Plaintiff’s Failure to Intervene and False Arrest
                                        Claims Survive

     In their brief at Point VI (pp. 15-16), defendants argue that because the officers

  admittedly participated in plaintiff’s arrest and used force against him, plaintiff cannot

  maintain failure to intervene claims against either defendant. But this is not a correct

  statement of the law.

     First, in the case defendants cite, Jackson v. City of New York, the court denied

  summary judgment on the failure to intervene claim based on the same sort of factual

  disputes present here. 939 F. Supp. 2d 219, 232 (E.D.N.Y. 2013) (“[B]ecause a genuine

  issue of material fact exists as to the extent of each defendant police officer’s

  participation in Plaintiff’s arrest, which was officially executed by Officer Vogel,

  Defendants are not entitled to summary judgment on Plaintiff’s claim for failure to

  intervene.”) (citing Dawkins v. Williams, 413 F.Supp.2d 161, 172 (N.D.N.Y. 2006) for

  the proposition that “even if an officer is not directly involved in an arrest, they may

  still be liable under § 1983 for their failure to intervene”). The same rationale led the

  Hon. Alison J. Nathan to deny summary judgment on this claim in Snead v. City of

                                              7
Case 1:19-cv-03867-PKC-ST Document 111 Filed 09/30/22 Page 11 of 15 PageID #: 2247




  New York: “The Officers certainly have not presented undisputed evidence such that no

  reasonable jury could conclude that [they] had a realistic opportunity to intervene in

  [the arresting officer’s] alleged constitutional violations. The Court therefore denies

  them summary judgment on this claim.” 463 F. Supp. 3d 386, 400 (S.D.N.Y. 2020),

  reconsideration denied sub nom. Snead v. LoBianco, 16 CV 09528 (AJN), 2021 WL

  861060 (S.D.N.Y. Mar. 8, 2021) (citation omitted) (emphasis in original); see also, e.g.,

  Rodriguez, 2022 WL 900613 at *11 (denying summary judgment on failure to intervene

  claims).

      A reasonable jury, properly instructed on the law and considering this record could

  similarly conclude that defendant Telesford had the obligation and opportunity to

  intervene in defendant Samuel’s false arrest of plaintiff and that either defendant could

  reasonably have intervened in the other’s use of excessive force against Mr. Suriel. See

  Pl. 56.1 at ¶¶ 29-39.

      Accordingly, plaintiff should be permitted to present an alternative claim against

  both defendants for failing to intervene in the use of excessive force and an alternative

  claim against defendant Telesford for failing to intervene in the false arrest of plaintiff

  by defendant Samuel.4




  4
   Plaintiff agrees that the record does not support a claim that defendant Samuel failed to intervene in plaintiff’s
  arrest.


                                                          8
Case 1:19-cv-03867-PKC-ST Document 111 Filed 09/30/22 Page 12 of 15 PageID #: 2248




     In the second segment of defendants’ Point VI, they also state, in a single sentence

  on p. 16, that “Telesford cannot…be sued for false arrest,” citing Theodat v. City of New

  York, 818 Fed. Appx. 79 (2d Cir. 2020). However, Theodat, a non-precedential

  appellate opinion considering motions for a new trial and judgment as a matter of law

  after a plaintiff’s verdict, supports denial of defendants’ motion. As the Second Circuit

  explained in that case:

               Here there was sufficient evidence for a jury to believe that
               Officer McDonald failed to intervene. First, regardless of
               when the arrest was complete, the testimony is clear that
               Officer McDonald was present for the arrest and, crediting
               the evidence favoring the nonmoving party, that Officer
               McDonald also handled Theodat during the process of the
               arrest. Officer McDonald claimed at trial to have no memory
               of the arrest. But in addition to the evidence of Officer
               McDonald's presence at and involvement in the arrest
               process, Theodat testified that, immediately prior to Officer
               Crooms’s handcuffing of Theodat, Officers Crooms and
               McDonald huddled together with other officers and had a
               conversation, during which Theodat overheard one officer
               say “good to go.” The testimony was thus clear that Officer
               McDonald had ample chance to intervene.

               As to Officer McDonald’s awareness of the falsity of the
               arrest, because he was present from the outset, because he
               was part of the group of officers who had a discussion
               immediately prior to handcuffing Theodat, and in light of
               the substantial evidence—including Theodat’s testimony—
               supporting the jury’s finding of false arrest, there was
               sufficient evidence for a jury to conclude that Officer
               McDonald knew that Officer Crooms’s arrest was not based
               on probable cause and was therefore unconstitutional. The



                                             9
Case 1:19-cv-03867-PKC-ST Document 111 Filed 09/30/22 Page 13 of 15 PageID #: 2249




                     district court was thus correct to deny Officer McDonald’s
                     motion for judgment as a matter of law.

  Id. at *83. The record here is strikingly similar (including a pre-arrest conferral between

  the individual defendants)5 and, appropriately analyzed under Rule 56 in a light most

  favorable to plaintiff, provides ample evidence that defendant Telesford also “knew”

  that plaintiff’s “arrest was not based on probable cause and was therefore

  unconstitutional,” and therefore should not have participated and instead intervened to

  prevent the arrest. Id.; see, e.g., Pl. 56.1 at Responses 31-39. Thus, Telesford is an

  appropriate defendant on plaintiff’s false arrest and failure to intervene claims.

                                 Plaintiff Does Not Assert a Monell Claim

        At their Point VII defendants argue that plaintiff’s Monell claim lacks support.

  However, review of the pleadings indicates that plaintiff has not asserted a Monell claim.

                                     The State Law Claims are Timely

        Defendants argue at Point VIII that plaintiff’s state law against defendant Telesford

  are untimely because plaintiff did not amend the complaint to add defendant Telesford

  until more than one year after accrual of plaintiff’s false arrest and assault and battery

  claims.

        But this position is without merit, because, as indicated in the pleadings, plaintiff’s

  state law claims are asserted against the Port Authority under a respondeat superior


  5
      See Pl. 56.1 at Response 33.


                                                   10
Case 1:19-cv-03867-PKC-ST Document 111 Filed 09/30/22 Page 14 of 15 PageID #: 2250




  theory, and the docket sheet reflects that a complaint asserting those causes of action

  was filed by Mr. Suriel on July 3, 2019. DE #1, ¶¶ 40, 47, 68, 73; see, e.g., Velez v. City

  of New York, 730 F.3d 128, 137 (2d Cir. 2013) (“If the employee acted within the scope

  of her employment, the employer…may be held liable for the employee’s negligence

  only under a theory of respondeat superior.”) (citing Karoon v. N.Y.C. Transit Auth., 241

  A.D.2d 323 (1st Dep’t 1997)).

                       Plaintiff Withdraws against the Port Authority
                                     Police Department

     Defendants’ final argument is that the Port Authority Police Department is not a

  suable entity. Having researched the matter, plaintiff respectfully consents to dismissal

  as against this defendant.




                                              11
Case 1:19-cv-03867-PKC-ST Document 111 Filed 09/30/22 Page 15 of 15 PageID #: 2251




                                        Conclusion

     For the foregoing reasons, plaintiff respectfully requests that the Court deny

  defendants’ partial motion to the extent set forth above.

  Dated:       September 9, 2022
               Briarcliff Manor, New York


                                          Elefterakis, Elefterakis & Panek



                                          _________________________
                                          Gabriel P. Harvis
                                          Baree N. Fett
                                          80 Pine Street, 38th Floor
                                          New York, New York 10005
                                          (212) 532-1116

                                          Attorneys for plaintiff




                                            12
